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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

         Plaintiff,

                   v.                              CRIMINAL NO. 12-413 (FAB)

ANNETTE CANCEL-LORENZANA [22],

         Defendant.


                            MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before      the    Court    is defendant        Annette    Cancel-Lorenzana’s

motion to sever pursuant to Federal Rule of Criminal Procedure

14(a) (“Rule 14(a)”) (Docket No. 1506), and the United States’s

opposition (Docket No. 1533).             For the reasons articulated below,

the Court DENIES defendant’s motion to sever.

I.   Background

     Count three of the superseding indictment charges Cancel-

Lorenzana, along with her husband and co-defendant Carlos Arce-

Lopez,    with   the    commission        of   a   conspiracy      to   commit    money

laundering in violation of 18 U.S.C. § 1956(h).1                   (Docket No. 518.)

Defendants are accused of (1) making cash payments and money wire

transfers to pay for controlled substances to be imported from the

Dominican Republic to Puerto Rico; (2) co-mingling drug trafficking

proceeds with      monies       derived    from     the   retail    sales    of their

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      Count three also charged Ramon L. Nuñez-Freytes, who pleaded
guilty to count three on May 16, 2014. (Docket No. 1485.)
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business,   Ferreteria Arce;         (3)    making   misrepresentations with

respect to real estate purchases; and (4) structuring cash currency

transactions   with   the     intent       to    evade     currency     transaction

reporting requirements.        Id.     Counts one and two charge twenty

other defendants — including Arce-Lopez — with participating in a

drug-trafficking conspiracy that involved smuggling cocaine through

luggage checked into American Airlines flights from San Juan,

Puerto Rico to locations along the East Coast of the United States

between 1999 and 2009.       Id.    Arce-Lopez is also charged with being

a felon in possession of a firearm and possession of stolen

firearms    (Docket   No.     615     and       Criminal     No.    12-736),        and

participating in the Dominican Republic drug-trafficking conspiracy

mentioned above (Docket No. 732-1).2

     The Court severed count three pursuant to Federal Rule of

Criminal Procedure 8(b) (“Rule 8(b)”) on October 22, 2013 (Docket

No. 935), and denied a motion to reconsider that decision on

July 10, 2014 (Docket No. 1530).                Several defendants charged in

counts one and two (“Group One”) were tried in April, 2014.                         Two

defendants — Arce-Lopez and Angel Torres Moreno — remain to be

tried for counts one and two, while Arce-Lopez and Cancel-Lorenzana

remain to be tried for count three.              (See id. at p. 4.)




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       This conspiracy is charged in criminal case number 13-148
before Judge Daniel R. Dominguez.
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       Cancel-Lorenzana contends that, should she be tried alongside

Arce-Lopez, she faces a serious risk of prejudice because evidence

of    her   husband’s   extensive     participation       and   leadership     in

uncharged criminal activity that would otherwise be inadmissible

against her alone will be presented at trial and “spillover” into

the jury’s assessment of her guilt. Consequently, Cancel-Lorenzana

avers, jurors will be led to erroneously conclude that, merely

because she is married to Arce-Lopez, she had knowledge of his

drug-trafficking activities and is therefore guilty of count three.

(Docket No. 1506.)

II.    Discussion

       A.    Rule 14(a) Standard

             As a general rule, defendants “who are indicted together

should be tried together.”        United States v. De Leon, 187 F.3d 60,

63 (1st Cir. 1999) (internal citation omitted).                   Rule 14(a),

however, permits trial courts to order severance or other relief

where joinder of offenses or defendants, even while proper pursuant

to Rule 8(b), “appears to prejudice a defendant or the government.”

Fed. R. Crim. P. 14(a); Zafiro v. United States, 506 U.S. 534, 538

(1993).      To   overcome     that   presumption,    a    defendant    seeking

severance must make “a strong showing of evident prejudice.”

United States v. O’Bryant, 998 F.2d 21, 25 (1st Cir. 1993).                    A

district court should grant severance pursuant to Rule 14(a) “only

if there is a serious risk that a joint trial would compromise a
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specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.” Zafiro,

506 U.S. at 539.       That risk may arise where evidence that is not

admissible or should not be considered against one defendant on his

or her own is admitted against a co-defendant.            Id.

            The risk of spillover prejudice provides one possible

ground for Rule 14(a) severance.         “To prevail on such a claim, a

defendant must prove prejudice so pervasive that a miscarriage of

justice looms.”     United States v. Pierro, 32 F.3d 611, 615 (1st

Cir. 1994) (internal citations omitted). Additionally, a defendant

asserting spillover “must overcome the dual presumptions that a

jury will    capably    sort   through   the   evidence    and    will   follow

limiting instructions from the court” to consider each defendant’s

guilt separately.      United States v. Turner, 93 F.3d 276, 284 (7th

Cir. 1996).     See also Zafiro, 506 U.S. at 540 (“[J]uries are

presumed to follow there instructions.”) (internal quotation marks

and citation omitted).

     B.     Cancel-Lorenzana’s Allegations of Spillover Prejudice Do
            Not Warrant a Rule 14(a) Severance

            The Court disagrees with defendant’s contention that

evidence of Arce-Lopez’s involvement in separate drug-trafficking

conspiracies would be inadmissible against Cancel-Lorenzana were

she tried alone.    Much of the evidence she labels as “prejudicial

spillover” supports one of the elements of the money-laundering
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conspiracy charged in count three.        The Money Laundering Control

Act (“the Act”) provides, as relevant here:

          (a)(1) Whoever, knowing that the property
          involved in a financial transaction represents
          the proceeds of some form of unlawful
          activity, conducts or attempts to conduct such
          a financial transaction which in fact involves
          the specified unlawful activity –

          (A)(i) with the intent to promote the carrying
          on of specified unlawful activity; or . . .

          (B) knowing that the transaction is designed
          in whole or in part —

               (i) to conceal or disguise the nature,
          the location, the source, the ownership, or
          the control of the proceeds of specified
          unlawful activity; or

               (ii) to avoid a transaction reporting
          requirement under State or Federal law . . . .

is guilty of money laundering.         18 U.S.C. § 1956(a)(1).             Count

three charges Cancel-Lorenzana and Arce-Lopez with engaging in

money laundering with the intent to promote the drug-trafficking

activities of Arce-Lopez, as well as to conceal and disguise drug-

trafficking proceeds derived by him.          (Docket No. 518 at p. 9.)        In

other words, Arce-Lopez’s drug-trafficking conduct constituted the

“specified unlawful activity” (“SUA”) connected to the money-

laundering violation.        The Act defines the first element of the

offense — “knowing that the property involved in a financial

transaction represents the proceeds of some form of unlawful

activity” — to mean “that the person knew the property involved in

the transaction represented proceeds from some form, though not
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necessarily which form, of activity that constitutes a felony under

State, Federal, or foreign law.” 18 U.S.C. § 1956(c)(1). Thus, to

make its case against Cancel-Lorenzana, the government may produce

evidence of her knowledge — or willful blindness — of the uncharged

drug-trafficking          activities.       See   United   States        v.    Rivera-

Rodriguez, 318 F.3d 268, 272 (1st Cir. 2003) (“Indeed, because

governing law equates willful blindness with knowledge, . . . it

would suffice for the jury to conclude that [Cancel-Lorenzana]

consciously averted [her] eyes from the obvious explanation for the

funds.”) (internal citation omitted); United States v. Turner, 400

F.3d    491,    497   (7th   Cir.   2005)    (“Knowledge      may   be    actual    or

constructive — by a showing of conscious avoidance of actual

knowledge . . . . Knowledge may be inferred from circumstantial

evidence.”) (internal citations omitted).

               Evidence    of   Arce-Lopez’s      extensive    participation        in

separate drug-trafficking conspiracies for which Cancel-Lorenzana

is not charged would nevertheless be admissible against her alone

to show her knowledge of the SUA connected to the charged money-

laundering violations.          “Where evidence featuring one defendant is

independently admissible against a codefendant, the latter cannot

convincingly complain of an improper spillover effect.”                       O’Bryant,

998 F.2d at 26 (internal citations omitted).               The relevant inquiry

here is not whether Cancel-Lorenzana would benefit from a separate

trial.      “[P]rejudice means more than just a better chance of
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acquittal at a separate trial.”             United States v. Boylan, 898 F.2d

230, 246 (1st Cir. 1990) (quoting United States v. Martinez, 479

F.2d 824, 828 (1st Cir. 1973)). “There is always some prejudice in

any trial where more than one offense or offender are tried

together — but such ‘garden variety’ prejudice, in and of itself,

will not suffice.”        Id. (internal citations omitted).               Even “where

one defendant’s involvement in an overall agreement is far less

than the involvement of others,” severance may not be appropriate.

Id.

            To    the    extent      that   any   spillover      does    result       from

evidence that is not independently admissible against Cancel-

Lorenzana,       the   Court    is    unpersuaded     by   her     contention         that

appropriate      limiting      instructions       cannot   mitigate      any    ensuing

spillover prejudice.           See United States v. Floyd, 740 F.3d 22, 37

(1st Cir. 2014) (noting that the district court “took effective

measures    to    palliate      spillover    prejudice”      by    giving      limiting

instructions       “as   to     the    admissibility       of     evidence      against

particular defendants and as to the need to determine guilt on an

individual       basis.”)      (internal     quotation      marks       and    citation

omitted); O’Bryant, 998 F.2d at 26 (“The court repeatedly gave

limiting instructions, cabining the way in which certain pieces of

evidence could be used and reminding the jurors that the evidence

must be weighed separately as to each defendant on each count.”)
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Severance pursuant to Rule 14(a) asks a defendant to clear a high

hurdle; Cancel-Lorenzana has failed to do so here.

III. Conclusion

     The   Court   discerns    no   unfair    or   unacceptable     spillover

prejudice resulting from Cancel-Lorenzana being tried alongside her

husband and co-defendant, Arce-Lopez.              Accordingly, the Court

DENIES her motion to sever pursuant to Rule 14(a).

     IT IS SO ORDERED.

     San Juan, Puerto Rico, July 21, 2014.


                                        s/ Francisco A. Besosa
                                        FRANCISCO A. BESOSA
                                        UNITED STATES DISTRICT JUDGE
